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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

WILLIAM E. TURNER                               :

       Plaintiff                                :

v                                               :           Civil Action No. RWT-08-2565

TYRONE HURT,                                    :
UNITED STATES OF AMERICA, and
UNITED STATES DISTRICT COURT                    :

       Defendants                        :
                                        o0o
                                 MEMORANDUM OPINION

       The above-captioned case was instituted upon receipt of Plaintiff’s complaint seeking

immediate release from incarceration and referencing his criminal case number from this court.

See United States v. Turner, Criminal Case RWT-04-235 (D. Md. 2004). Based on the relief

sought, the pleading is more appropriately construed a Motion to Vacate pursuant to 28 U.S.C.

§ 2255. For the following reasons, the case will be dismissed.

       Mr. Turner filed a Motion to Vacate pursuant to 28 U.S.C. §2255 in Criminal Case RWT-

04-235 on June 25, 2007. See Turner, RWT-04-235 at Paper No. 1137. To the extent the instant

filing is a 2255 motion, it is successive. As such, the motion may not be considered absent leave

to do so from the United States Court of Appeals for the Fourth Circuit. See 28 U.S.C.

§§2244(b)(3)(A)& 2255; In re Avery W. Vial, 115 F.3d 1192, 1194 (4th Cir. 1997) (en banc).

Under 28 U.S.C. §2255:

                      A second or successive motion must be certified as
                      provided in section 2244 by a panel of the
                      appropriate court of appeals to contain–(1) newly
                      discovered evidence that, if proven and viewed in
                      light of the evidence as a whole, would be sufficient
                      to establish by clear and convincing evidence that
                      no reasonable factfinder would have found the
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                       movant guilty of the offense; or (2) a new rule of
                       constitutional law, made retroactive to cases on
                       collateral review by the Supreme Court, that was
                       previously unavailable.

       Petitioner has not received the proper certification from the Fourth Circuit Court of

Appeals. Consequently, this court may not consider the merits of his claim unless and until he

receives such certification.

       To the extent the pleading is not a 2255 motion, it does not clearly state any particular

facts or basis for a claim, but contains conclusory statements that Plaintiff’s due process rights

were violated. As such, it fails to state a claim upon which relief may be granted.1



October 24, 2008                                                   /s/
Date                                                         ROGER W. TITUS
                                                      UNITED STATES DISTRICT JUDGE




       1
         The return address noted on the envelope containing Plaintiff’s pleading is illegible.
Thus, the Clerk shall not be required to mail this Memorandum Opinion or the Order that follows
to Plaintiff unless or until he contacts the Court again and provides a legible return address.

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